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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION


Crystal Brown                                     )
                                                  )
        Plaintiff,                                )
                                                  )
v.                                                )
                                                  )
CITY OF SAINT LOUIS, MISSOURI,                    )   Cause No.: 4:18-cv-01676
COL. JOHN HAYDEN, in his                          )
individual and official capacities, and           )   JURY TRIAL DEMANDED
OFFICER WILLIAM OLSTEN, in his                    )
individual and official capacities.               )
                                                  )
        Defendants.                               )

                                          COMPLAINT

        On September 29, 2017, Officer Olsten of the St. Louis Municipal Police Department

pepper sprayed Plaintiff, Crystal Brown (“Ms. Brown”) without warning, without justification,

and for punitive reasons while Chief Hayden looked on. Ms. Brown was not breaking any laws

and was exercising her First Amendment right to question the police’s use of a Taser without

warning and unjustified use of excessive force against an elderly clergyman.

                                 JURISDICTION AND VENUE

        1.      Plaintiff brings this claim pursuant to 42 U.S.C. § 1983, the Fourteenth Amendment

to the United States Constitution, and the First and Fourth Amendments, as incorporated as against

States and their municipal divisions through the Fourteenth Amendment.

        2.      The jurisdiction of this Court is proper pursuant to 28 U.S.C. § 1331 because

Plaintiff’s action arises under the Constitution of the United States and § 1343(a)(3) to redress the

deprivation of rights secured by the Constitution of the United States.




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       3.      Venue is proper in the United States District Court for the Eastern District of

Missouri pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of the events giving rise to

the claims occurred in the City of St. Louis.

       4.      Divisional venue is proper in the Eastern Division because a substantial part of the

events leading to the claims for relief arose in the City of St. Louis and Defendants reside in the

Eastern Division. E.D. Mo. L.R. 2.07(A)(1), (B)(1).

       5.      This Court has supplemental jurisdiction over the included Missouri state law

claims pursuant to 28 U.S.C. §1367.

       6.      Plaintiff demands a trial by jury pursuant to Fed. R. Civ. P. 38(b).

                                             PARTIES

       7.      Defendant the City of St. Louis, Missouri (hereinafter, “City of St. Louis”) is a first-

class city, and a political subdivision of the State of Missouri duly organized under the Constitution

of Missouri.

       8.      The St. Louis Metropolitan Police Department (“SLMPD”) is an instrumentality of

the City of St. Louis, Missouri organized and controlled pursuant to the Statutes of the State of

Missouri.

       9.      The Public Facilities Protection Corporation of the City of St. Louis insures the

SLMPD.

       10.     John Hayden is the current Chief of Police officer of the SLMPD. Mr. Hayden has

the rank of colonel. Mr. Hayden was on the ground supervising SLMPD officers during the events

of September 29, 2017. At the time, his rank was major.

       11.     William Olsten is employed as a police officer with the SLMPD. Mr. Olsten was

on duty and on the scene during the events of September 29, 2017.



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        12.     Plaintiff is a resident of St. Louis County.

                                                    FACTS

                               A.      Backdrop of Stockley Verdict

        13.     On Friday, September 15, 2017, after a four-day bench trial, a Missouri Circuit

Court Judge acquitted Officer Jason Stockley of the first-degree murder of Anthony Lamar Smith.

See Exh. A, Stockley Verdict.

        14.     This acquittal shocked many in the St. Louis community as an audio recording

submitted into evidence in the trial captured Officer Stockley saying “we’re killing this

motherfucker, don’t you know” in reference to Mr. Smith. Id. at 5.

        15.     Further, evidence showed that during the incident Officer Stockley was in

possession of an assault rifle that had not been issued to him by the SLMPD. Id. at 23.

        16.     In addition, Officer Stockley claimed to find a gun in Mr. Smith’s car after he killed

Mr. Smith. Id. at 25.

        17.     Only Officer Stockley’s DNA was found on the gun, leading many, including the

Circuit Attorney of the City of St. Louis, to believe that Stockley planted the gun on Mr. Smith

after Mr. Smith’s death, in an effort to justify the killing. Id. at 12.

        18.     At trial, Officer Stockley’s partner did not testify in Stockley’s defense. Rather, the

partner invoked his Fifth Amendment right against self-incrimination.1




1
  See Joel Currier, Partner of Ex-St. Louis Cop Charged with Murder is Given Immunity, Ordered
to Testify, St. Louis Post-Dispatch, Jul 27, 2016, available at
http://www.stltoday.com/news/local/crime-and-courts/partner-of-ex-st-louis-cop-charged-with-
murder-is/article_b85140b8-3744-55fb-83ee-3d9474cc70b3.html.
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                             B.     Protests Begin After the Verdict

       19.     Following the announcement of the Stockley Verdict, public protests began at

multiple locations in St. Louis and surrounding communities.

       20.     To many in the St. Louis community, Officer Stockley’s acquittal was yet another

example of white St. Louis-area police officers killing African-American citizens with impunity.

       21.     Further, in the view of the protestors, the acquittal further supported their view that

the American criminal justice system does not believe that Black lives matter.

       22.     In response to the protests, St. Louis Metropolitan police officers amassed at several

protests wearing military-like tactical dress, helmets, batons, and full-body riot shields and

carrying chemicals, such as tear gas, skunk, inert smoke, pepper gas, pepper pellets, xylyl bromide,

and/or similar substances (collectively, “chemical agents”).

       23.     This is in stark contrast to SLMPD’s appearance at a multitude of other un-

permitted protests where the police themselves are not the target of the protest, including an anti-

Donald Trump march on November 13, 2016, the St. Louis Women’s March on January 21, 2017,

the St. Louis LGBTQIA March and Rally on February 22, 2017, and the St. Louis March for

Science on April 22, 2017.

       24.     Virtually all of the protests were non-violent.

       25.     On three occasions, a handful of protesters committed minor property damage,

including broken windows and broken flower pots.

       26.     During the Stockley protests, SLMPD police officers without warning deployed

chemical agents against individuals observing, recording, or participating in protest activity,

including but not limited to the following:




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              a.     The afternoon of Friday, September 15, 2017, near the intersection of Clark

       and Tucker Avenues.

              b.     The evening of Friday, September 15, 2017, near the intersection of

       McPherson and Euclid Avenues.

              c.     The evening of Friday, September 15, 2017, near the intersection of

       Waterman and Kingshighway Boulevards.

              d.     The evening of Friday, September 15, 2017, near the intersection of Lindell

       and Euclid Avenues.

              e.     The evening of Friday, September 15, 2017, near the intersection of Euclid

       and Maryland Avenues.

              f.     The evening of Friday, September 15, 2017, near the intersection of Lindell

       and Kingshighway Boulevards.

              g.     The evening of Friday, September 15, 2017, near the intersection of Euclid

       Avenue and Pershing Place.

              h.     The evening of Friday, September 15, 2017, on Hortense Place.

              i.     The evening of Sunday, September 17, 2017, near the intersection of Tucker

       Boulevard and Washington Avenue.

              j.     The evening of September 29, 2017 outside of Busch Stadium.

       27.    These incidents are consistent with the pattern and practice of SLMPD of

indiscriminately using chemical agents without warning.




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                        C.      Post-Ferguson Federal Court Proceedings

         28.    On December 11, 2014, a federal judge in this District issued a temporary

restraining order enjoining the SLMPD from enforcing any rule, policy, or practice that grants law

enforcement officials the authority or discretion to:

(1)      utilize tear gas, inert smoke, pepper gas, or other chemical agents (collectively,
         “chemical agents”) for the purpose of dispersing groups of individuals who are
         engaged in peaceful, non-criminal activity in the City of St. Louis or in the County
         of St. Louis

                  (a)    without first issuing clear and unambiguous warnings that such
         chemical agents will be utilized;
                  (b)    without providing the individuals sufficient opportunity to heed the
         warnings and exit the area;
                  (c)    without minimizing the impact of such chemical agents on
         individuals who are complying with lawful law enforcement commands; and
                  (d)    without ensuring that there is a means of safe egress from the area
         that is available to the individuals; and

(2)      utilize chemical agents on individuals engaged in peaceful, non-criminal activity in
         the City of St. Louis or in the County of St. Louis for the purpose of frightening
         them or punishing them for exercising their constitutional rights.

See Exh. B, Temporary Restraining Order in Templeton v. Dotson, No. 4:14-cv-02019 (E.D. Mo.

Dec. 11, 2014) at 3.

         29.    This suit was in response to SLMPD firing chemical agents into a business where

peaceful protestors had congregated without allowing the protestors to leave.

         30.    The City entered into a settlement agreement on March 25, 2015, where it agreed

as follows:

        A.      Defendants and their agents, servants, employees, and representatives, will
not enforce any rule, policy, or practice that grants law enforcement officials the authority
or discretion to:
                (1)    utilize tear gas, inert smoke, pepper gas, or other chemical agents
        (collectively, “chemical agents”) for the purpose of dispersing groups of
        individuals who are engaged in non-criminal activity:




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                       (a)     without first issuing clear and unambiguous warnings that
               such chemical agents will be utilized;
                       (b)     without providing the individuals sufficient opportunity to
               heed the warnings and exit the area;
                       (c)     without reasonably attempting to minimize the impact of
               such chemical agents on individuals who are complying with lawful law
               enforcement commands; and
                       (d)     without ensuring that there is a means of safe egress from the
               area that is available to the individuals and announcing this means of egress
               to the group of individuals.

               (2)     utilize chemical agents on individuals engaged in non-criminal
       activity for the purpose of frightening them or punishing them for exercising their
       constitutional rights.

        B.      Provided, however, that Paragraph A hereof shall not be applicable to
situations that turn violent and persons at the scene present an imminent threat of bodily
harm to persons or damage to property, and when law enforcement officials must defend
themselves or other persons or property against such imminent threat.

See Exh. C, Settlement Agreement in Templeton v. Dotson, No. 4:14-cv-02019 (E.D. Mo. Mar.

25, 2015) at 1-2.

                       D.      SLMPD Violations of the Consent Decree

       31.     Less than two months after entering into this Consent Decree, SLMPD began to

violate the Decree.

       32.     On May 19, 2015, in response to protests over the St. Louis Circuit Attorney’s

office’s refusal to charge another SLMPD officer for killing another African-American man,

SLMPD officers deployed chemical agents against peaceful, non-criminal protestors without

warning. See Exh. D, Transcript of Testimony, Volume 1, Ahmad v. St. Louis, No. 4:17-cv-02455

(E.D. Mo. Oct. 18, 2017) at 69.

       33.     On August 19, 2015, a protest occurred because SLMPD officers killed another

African-American man in the Fountain Park neighborhood. According to the testimony of Sarah

Molina, a local attorney, SLMPD officers indiscriminately used chemical agents without giving



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an audible and intelligible warning at the intersection of Walton Avenue and Page Boulevard. Id.

at 50-52. Molina testified that SLMPD officers fired chemical agents at her without giving her an

opportunity to leave. Id. SLMPD officers continued using chemical agents against people fleeing

the area and even fired chemical agents at people peacefully standing on or in their own properties.

Id. Thirty minutes after the protests had dissipated, SLMPD officers returned and fired chemical

agents at Ms. Molina, who was standing on property that she owns. Id.

       34.     On July 21, 2017, SLMPD officers used chemical agents against people protesting

the treatment of detainees in the St. Louis City Workhouse. Id. at 71, 91. Although a few people

did engage in unlawful activity earlier in the night, SLMPD officers pepper sprayed numerous

people, none of whom were involved in criminal activity or were even at the same location as the

criminal activity. These protesters were engaged in non-violent protesting when SLMPD officers

sprayed them with chemical agents. Id.

                            E.      The September 29, 2017 Protest

       35.     This pattern and practice of utilizing chemical agents on individuals engaged in

peaceful, non-criminal activity continued on September 29, 2017.

       36.     On September 29, 2017, at around 7:00 PM, individuals began gathering and

protesting outside Busch Stadium while a St. Louis Cardinals game took place inside the stadium.

       37.     Throughout the course of several hours, the protestors marched up and down

various streets of downtown protesting police violence. SLMPD blocked street intersections and

regulated pedestrian and traffic flow during the demonstrations.

       38.     At some point during in the evening, but prior to any arrests, protestors lawfully

and peacefully entered Busch Stadium with tickets and unfurled a giant banner as a sign of protest

of police violence.



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        39.     Shortly thereafter, the protestors inside Busch Stadium voluntarily left the premises

and rejoined other protestors marching near the Stadium and Ballpark Village. These marches were

peaceful.

        40.     SLMPD’s Civil Disobedience Team appeared on the scene to join uniformed and

bicycle SLMPD officers already present. To this point, there had been no reports of violence

attributable to the protestors.

        41.     SLMPD’s Civil Disobedience Team was comprised of officers wearing military-

like tactical dress, including helmets. These officers carried long wooden batons and full-body riot

shields.

        42.     Around 9:00 PM, a majority of protestors who had been marching along various

streets in downtown began making their way back towards Busch Stadium moving south on

Broadway towards the intersection of Walnut Street and Broadway.

        43.     Soon after the protestors arrived around the intersection of Broadway and Walnut,

SLMPD began indiscriminately using pepper spray on civilians without provocation of violence

or criminal behavior. Among the civilians SLMPD pepper sprayed were members of the clergy,

elected officials, and disabled persons.

        44.     Video evidence shows that protestors acted peacefully and calmly when a few

protestors crossed the intersection of Walnut walking south.

        45.     Instantly and without warning, an SLMPD officer wearing an SLMPD baseball cap

violently threw Reverend Darryl Gray to the ground breaking the Reverend’s glasses.

        46.     Instantly, protestors began to voice their disapproval of the violent excessive force

used against Reverend Gray. Up until that moment, the protest was both calm and rather quiet.




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         47.      In response to the SLMPD’s unwarranted escalation, many people, including

protestors, elected officials, people who were just attending the baseball game, and members of

the media began to loudly question why the police had decided to use violence when it was clearly

unwarranted.

         48.      At that time, two officers began to chase one of the protestors, Calvin Kennedy.

         49.      Video evidence shows that Mr. Kennedy was not being violent toward any officer.

Within 15 seconds, one officer had a hold of Mr. Kennedy’s T-shirt.

         50.      The video evidence also shows that the officers did not give Mr. Kennedy any

verbal commands.

         51.      Without warning, one of the officers proceeded to shoot Mr. Kennedy with a Taser

while Mr. Kennedy was being grabbed by the officer.

         52.      In reaction to the Tasering, protestors began demanding answers to why SLMPD

deployed a weapon that has been cited as a factor in over 1,000 deaths.2

         53.      Plaintiff observed Mr. Kennedy’s Tasering. She observed the officer roughly

treating Mr. Kennedy and could see the Taser barb still in his arm and the officers lifted him.

         54.      In response to the complaints, Officer Olsten can be heard antagonizing the

protestors. He is heard yelling at a protestor “Come and fuck me up then” and is seen moving

toward the protestor. Two SLMPD officers are observed trying to grab Officer Olsten and calm

him down and move him away from the crowd.




2
 See Reuters Finds 1,005 Deaths in U.S. involving Tasers, Largest Accounting to Date, Reuters,
Aug 22, 2017, available at:
https://www.reuters.com/article/us-axon-taser-toll/reuters-finds-1005-deaths-in-u-s-involving-tasers-largest-
accounting-to-date-idUSKCN1B21AH


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         55.     The only white shirt supervisor seen during the course of the video is Chief Hayden,

who is seen standing approximately five feet to the right of Officer Olsten.

         56.     Officer Olsten is observed getting more and more agitated as he very pronouncedly

chomps on his gum and begins to flex his body.

         57.     Although some protestors are observed harshly criticizing the SLMPD’s violent

arrest and Taserings, Officer Olsten is never in any danger. Further, Officer Olsten was not trying

to extricate himself from a dangerous situation.

         58.     Then, without warning, Officer Olsten pulls out a large fogger like canister of

pepper spray.

         59.     Officer Olsten did not give any dispersal order or warning prior to using the pepper

spray.

         60.     He fired a broad stream of spray hitting Ms. Brown and three other people,

including the elected Democratic Committeeman and a woman in a wheelchair.

         61.     After pepper spraying these people, Officer Olsten made no attempt to effectuate

any arrests. He just calmly walked away after delivering the punitive chemical munitions.

         62.     The pepper spray worked as intended as Ms. Brown began to feel excruciating pain.

Her eyes began to burn. Mucus ran from her nose. Her breathing became labored.

         63.     In response to the deployment of pepper spray, SLMPD released a statement that

read in part, “Officers deploy tactics when criminal activity arises and escalation depends on the

level of aggression. […] Pepper spray is a non-lethal tool used when unlawful behavior occurs to

protect life and property.”3


3
 See Erin Heffernan, St. Louis Faith Leaders Criticize Arrest, Pepper-Spraying of Clergyman at
Protest, St. Louis Post-Dispatch, Oct 3, 2017, available at
https://www.stltoday.com/news/local/metro/st-louis-faith-leaders-criticize-arrest-pepper-spraying-of-
clergyman/article_f065d923-634d-526a-8b0f-45dc443ec1cb.html.

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       64.        This statement flies in the face of what really happened. There was no unlawful

behavior that required pepper spraying. At worst, individuals may have been jaywalking. No life

or property was in danger until SLMPD Tasered a person without warning and then used pepper

spray in a punitive manner.

       65.        During this whole incident, Chief Hayden can be observed in the middle of the

officers wearing a white shirt indicating that he is a supervisor. Chief Hayden takes no steps to

prevent his officers from inflicting punishment on peaceful protestors and members of the media.

In fact, Chief Hayden is observed using a cell phone to record the activities and the police response.

             F.       The Police Department Intentionally Ignored Its Own Policies

       66.        When detaining individuals in custody who require medical care, the City of St.

Louis and its SLMPD has established the following policy:

   PRISONERS REQUIRING MEDICAL ATTENTION (72.6.1)

       1.         A medical emergency is defined as a condition which a reasonable person would
                  expect a result in loss of life or function. Examples of medical emergencies include
                  severe bleeding, fractures with displacement (bone out of alignment), loss of
                  consciousness, non-responsiveness, and respiratory distress, severe chest pain or
                  severe shortness of breath. This list is not all-inclusive. If you have any doubts,
                  contact the on-duty nurse at the City Justice Center for guidance.
       2.         Should a prisoner require emergency medical attention, whether the injury or illness
                  occurred during incarceration or not, an Emergency Medical Service (EMS) unit
                  will be requested to respond to the holdover for medical evaluation and if necessary
                  conveyance to the hospital. EMS will determine the destination hospital. An
                  I/LEADS report will be prepared documenting all treatment received by the
                  prisoner. If immediate first aid is administered by a Department employee or the
                  paramedics, the injury and treatment will be noted in the Prisoner’s Log Book by
                  the booking clerk.
       3.         Should a prisoner require non-emergency medical attention, the on-duty nurse at
                  the City Justice Center will be contacted for guidance.
       4.         The confidential relationship of doctor and patient extends to prisoner patients and
                  their physician.
       5.         In the event a prisoner is injured while in custody or shortly before being taken into
                  custody, the Watch Commander will arrange to have photographs taken of any and
                  all visible injuries. The photographs will be treated as physical evidence. If



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                   practical, the photos should be taken both prior to the application of bandages, etc.,
                   and after the injury has received appropriate medical attention

PRISONER HEALTH SCREENING (72.6.3)

The following prisoner medical “receiving screening” information will be obtained and recorded on
       the Field Booking Form when prisoners are booked and verified upon their transfer to another
       facility or release:

           1.      Current health and medical history of the prisoner; (72.6.3.a)
           2.      Medication taken by the prisoner; (72.6.3.b)
           3.      Known medication/drug allergies;
           4.      Behavior, including state of consciousness and mental status; and (72.6.3.c)
           5.      Body deformities, trauma markings, bruises, lesions, jaundice (a yellowness of the
                   skin and whites of the eyes), and ease of movement (72.6.3.d)

   NOTE: a copy of the Field Booking Form must be attached to the computerized Arrest Register
   whenever a prisoner is transferred to the City Justice Center.

           67.     On information and belief, the SLMPD and City of St. Louis Correctional Staff

   failed and/or refused to follow this policy when they provided no medical care to any of the people

   illegally pepper sprayed or who were hurt by the zip-cuffs.

           68.     Defendants’ decision to ignore the policy constitutes a custom and practice of

   failing and/or refusing to follow this policy designed to protect the safety and wellbeing of injured

   individuals in police custody, showing a deliberate indifference by Defendants to the rights of

   Plaintiff and other injured detainees.

           69.     Despite this policy, at no time after pepper spraying Plaintiff did any police officer

   or other city official provide Plaintiff with medical care or Plaintiff with anything to wash the

   chemical agents out of Plaintiff’s eyes, off Plaintiff’s bodies, or off Plaintiff’s clothes.

                                 G.      Federal Court Injunctive Relief

           70.     On November 15, 2017, a judge in this District barred SLMPD from using many

   of the tactics described in this complaint. See Exh. E, Memorandum and Order of Preliminary

   Injunction, Ahmad v. St. Louis, No. 4:17-cv-02455 (E.D. Mo. Nov. 15, 2017).

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       71.     The Court found that “[p]rotest activity began shortly after the announcement of

the verdict on the morning of September 15, 2017. Protesters assembled in front of the state

courthouse downtown near Tucker and Market streets. They did not have a permit to protest

because the City of St. Louis does not require, and will not provide, a permit for protests.” Id. at

2.

       72.     In an attempt to defend the SLMPD’s actions, the City’s attorney “stated during

closing arguments that ‘the police have the right to tell people, at this point, we’re done for the

evening; there’s no – no more assembling; this assembly is over.’” Id. at 37. Not surprisingly, the

Court did not adopt this rationale as a basis for the arrests and the use of chemical agents.

       73.     The Court made the following findings:

               a.      Plaintiffs are likely to prevail on the merits of their claims that the policies

       or customs of defendant discussed below violate the constitutional rights of plaintiffs. Id.

       at 35-36.

               b.      Plaintiffs have presented sufficient evidence demonstrating that they are

       likely to prevail on their claim that defendant’s custom or policy is to permit any officer to

       declare an unlawful assembly in the absence of the force or violence requirement of St.

       Louis City Ordinance 17.16.275 and Mo. Rev. Stat. § 574.060, in violation of plaintiffs’

       First and Fourth Amendment rights. Id. at 36.

               c.      Plaintiffs have presented sufficient evidence for purposes of awarding

       preliminary injunctive relief that defendant’s custom or policy of committing discretionary

       authority to police officers to declare unlawful assemblies in the absence of any threat of

       force or violent activity provides no notice to citizens of what conduct is unlawful, and it

       permits officers to arbitrarily declare “there’s no more assembling.” Id. at 37-38. Plaintiffs



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    have presented sufficient evidence at this stage of the proceedings that this discretion was

    in fact exercised in such a manner in violation of plaintiffs’ constitutional rights. Id.

           d.      Similarly, Plaintiffs have presented sufficient evidence demonstrating that

    they are likely to prevail on their claim that defendant’s custom or policy is to permit

    officers to issue vague dispersal orders to protesters exercising their first amendment rights

    in an arbitrary and retaliatory way and then to enforce those dispersal orders without

    sufficient notice and opportunity to comply before being subjected to uses of force or arrest,

    in violation of Plaintiffs’ First and Fourth Amendment rights. Id. at 39.

           e.      Plaintiffs presented sufficient, credible evidence for purposes of awarding

    preliminary injunctive relief that defendant has a custom or policy, in the absence of

    exigent circumstances, of issuing dispersal orders to citizens engaged in expressive activity

    critical of police which are either too remote in time and/or too vaguely worded to provide

    citizens with sufficient notice and a reasonable opportunity to comply, inaudible and/or not

    repeated with sufficient frequency and/or by a sufficient number of officers to provide

    citizens with sufficient notice and a reasonable opportunity to comply, contradictory and

    inconsistent, not uniformly enforced, and retaliatory. Id. at 40.

           f.      Plaintiffs have also presented sufficient evidence demonstrating that they

    are likely to prevail on their claim that defendant has a custom or policy of using chemical

    agents without warning on citizens engaged in expressive activity that is critical of police

    or who are recording police in retaliation for the exercise of their first amendment rights,

    in violation of the First, Fourth, and Fourteenth Amendments. Id. at 41.

           g.      The City’s custom or policy of authorizing the use of hand-held mace

    against non-violent protesters with no warning or opportunity to comply and in the absence



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       of probable cause or exigent circumstances impermissibly circumvents the protections

       afforded by the Templeton settlement agreement and vests individual officers with

       unfettered discretion to exercise that authority in an arbitrary and retaliatory manner in

       violation of constitutional rights. Id. at 43-44.

               h.      Plaintiffs’ evidence — both video and testimony — shows that officers have

       exercised their discretion in an arbitrary and retaliatory fashion to punish protesters for

       voicing criticism of police or recording police conduct. When all of the evidence is

       considered, plaintiffs have met their burden of showing that they are likely to succeed on

       their claim that defendant has a custom or policy of deploying hand held pepper spray

       against citizens engaged in recording police or in expressive activity critical of police in

       retaliation for the exercise of their first amendment rights, in violation of the First, Fourth,

       and Fourteenth Amendments. Id. 44.

               i.      Plaintiffs have also presented sufficient evidence at this preliminary stage

       of the proceedings that the aforementioned customs or policies of defendant caused the

       violations of plaintiff’s constitutional rights. Id. 44. That is because “it is well-settled law

       that a loss of First Amendment freedoms, for even minimal periods of time, unquestionably

       constitutes irreparable injury” and “it is always in the public interest to protect

       constitutional rights.” Phelps-Roper v. Nixon, 545 F.3d 685, 691 (8th Cir. 2008) (internal

       quotation marks and citations omitted), overruled on other grounds, Phelps-Roper v. City

       of Manchester, Mo., 697 F.3d 678 (2012). Id. 44-45.

       74.     Upon information and belief, senior officials of the SLMPD, including Defendant

Hayden were directing such actions and conduct and/or tacitly accepting and encouraging such




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conduct by not preventing officers from engaging in such conduct and by not disciplining them

when they did engage in such actions and conduct.

                                         COUNT I
             First Amendment Retaliation – Cognizable Under 42 U.S.C. § 1983
                               (Against All Defendants)

       75.     Plaintiff incorporates by reference each and every allegation contained in the

preceding paragraphs as if fully set forth herein.

       76.     Plaintiff has a fundamental right to assemble and express Plaintiff’s views protected

by the freedom of association and freedom of speech clauses of the First Amendment, as applied

to the states under the Fourteenth Amendment to the United States Constitution.

       77.     Defendants’ actions violated Plaintiff’s rights under the First Amendment to

freedom of speech and freedom of assembly by interfering with Plaintiff’s ability to associate

freely in public and express Plaintiff’s views as part of a peaceful demonstration.

       78.     Observing and recording public protests, and the police response to those protests,

is also a legitimate means of gathering information for public dissemination that is protected by

the freedom of speech and freedom of the press clauses of the First Amendment, as applied to the

states under the Fourteenth Amendment to the United States Constitution.

       79.     Defendants’ actions violated Plaintiff’s First Amendment rights to freedom of the

press and freedom of speech by interfering with Plaintiff’s ability to gather information and cover

a matter of public interest.

       80.     Defendants engaged in these unlawful actions willfully and knowingly, acting with

reckless or deliberate indifference to Plaintiff’s First Amendment rights.

       81.     As a direct and proximate result of Defendants’ unlawful actions described herein,

Plaintiff suffered damages including: physical injury, emotional trauma, great concern for



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Plaintiff’s own safety; fear, apprehension, depression, anxiety, consternation and emotional

distress;

        82.      Additionally, Defendants’ actions described herein have had a chilling effect on

Plaintiff, who is now less likely to participate in free public discourse.

        83.      At all times, Defendants were acting under color of state law.

        84.      If Plaintiff prevails, Plaintiff is entitled to recover attorneys’ fees pursuant to 42

U.S.C. § 1988.

                                          COUNT II
                 42 U.S.C. § 1983 – First and Fourteenth Amendment Violations
                            (Against Defendants Olsten and Hayden)

        85.      Plaintiff incorporates by reference each and every allegation contained in the

preceding paragraphs as if fully set forth herein.

        86.      Plaintiff has a fundamental right to assemble and express Plaintiff’s views protected

by the freedom of association and freedom of speech clauses of the First Amendment, as applied

to the states under the Fourteenth Amendment to the United States Constitution.

        87.      Defendants’ actions violated Plaintiff’s rights under the First Amendment to

freedom of speech and freedom of assembly by interfering with Plaintiff’s ability to associate

freely in public and express Plaintiff’s views as part of a peaceful demonstration.

        88.      Observing and recording public protests, and the police response to those protests,

is also a legitimate means of gathering information for public dissemination that is protected by

the freedom of speech and freedom of the press clauses of the First Amendment, as applied to the

states under the Fourteenth Amendment to the United States Constitution.




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        89.      Defendants’ actions violated Plaintiff’s First Amendment rights to freedom of the

press and freedom of speech by interfering with Plaintiff’s ability to gather information and cover

a matter of public interest.

        90.      Defendants engaged in these unlawful actions willfully and knowingly, acting with

reckless or deliberate indifference to Plaintiff’s First Amendment rights.

        91.      As a direct and proximate result of Defendants’ unlawful actions described herein,

Plaintiff suffered damages including: physical injury, emotional trauma, great concern for

Plaintiff’s own safety; fear, apprehension, depression, anxiety, consternation and emotional

distress;

        92.      Additionally, Defendants’ actions described herein have had a chilling effect on

Plaintiff, who is now less likely to participate in free public discourse.

        93.      At all times, Defendants were acting under color of state law.

        94.      If Plaintiff prevails, Plaintiff is entitled to recover attorneys’ fees pursuant to 42

U.S.C. § 1988.

                                         COUNT III
                   Unlawful Retaliation in Violation of The First Amendment
                             Cognizable Under 42 U.S.C. § 1983
                                   (Against All Defendants)

        95.      Plaintiff incorporates by reference the allegations in the foregoing paragraphs of

this Complaint as if fully set forth herein.

        96.      Plaintiff was engaged in lawful First Amendment conduct of free speech and

assembly.

        97.      In retaliation for this exercise of Plaintiff’s First Amendment rights, Defendants

deployed chemical agents against Plaintiff and assaulted Plaintiff.




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       98.       Defendants’ conduct would chill a person of ordinary firmness from continuing to

engage in lawful First Amendment activity of free speech and assembly.

       99.       Defendants acted in retaliation against Plaintiff, and for the purpose of deterring

Plaintiff from exercising Plaintiff’s rights under the First Amendment to free speech and assembly.

       100.      The conduct of Defendants violates the First Amendment in the United States

Constitution in that Defendants deprived Plaintiff of Plaintiff’s right to free speech and assembly

by acting in retaliation against Plaintiff for the purpose of deterring Plaintiff from engaging in

lawful protests.

       101.      As a direct and proximate result of the conduct of Defendants, Plaintiff suffered

injuries and damages including but not limited to: physical injury, emotional trauma, great concern

for Plaintiff’s own safety; fear, apprehension, depression, anxiety, consternation and emotional

distress; suppression of their First Amendment right to freedom of speech and assembly,

punishment for exercising Plaintiff’s First Amendment rights; and loss of faith in society.

       102.      The acts of Defendants described herein were intentional, wanton, malicious,

and/or were callously indifferent to the rights of Plaintiff, thus entitling Plaintiff to an award of

punitive damages against Defendants.

       103.      If Plaintiff prevails, Plaintiff is entitled to recover attorneys’ fees pursuant to 42

U.S.C. § 1988.

                                          COUNT IV
                      42 U.S.C. § 1983 – Conspiracy to Deprive Civil Rights
                                     (Against All Defendants)

       104.      Plaintiff incorporates by reference the allegations in the foregoing paragraphs of

this Complaint as if fully set forth herein.




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        105.     Defendants, acting in their individual capacities and under color of law, conspired

together and with others, and reached a mutual understanding to undertake a course of conduct

that violated Plaintiff’s civil rights.

        106.     In furtherance of this conspiracy, Defendants used excessive force by deploying

chemical agents against Plaintiff.

        107.     In furtherance of this conspiracy, Defendants assaulted Plaintiff.

        108.     As a direct and proximate result of the conspiracy between Defendants and others

as described above, Plaintiff was subjected to assault; the use of excessive force; the deprivation

of the right to be free from unreasonable search and seizure; and malicious prosecution.

        109.     As a direct and proximate result of Defendants’ actions, Plaintiff suffered and will

continue to suffer physical pain and injury and emotional trauma.

        110.     The acts described herein were intentional and callously indifferent to the rights of

Plaintiff, thus entitling Plaintiff to an award of punitive damages against the Defendants.

        111.     At all times, Defendants were acting under color of state law.

        112.     If Plaintiff prevails, Plaintiff is entitled to recovery attorneys’ fees pursuant to 42

U.S.C. § 1988.

                                        COUNT V
                           42 U.S.C. § 1983 – Municipal Liability
     Monell Claim against Defendant City of St. Louis for Failure to Train, Failure to
Discipline, Failure to Supervise, and for a Custom of Conducting Unreasonable Search and
                            Seizures and Use of Excessive Force

        113.     Plaintiff incorporates by reference the allegations in the foregoing paragraphs of

this Complaint as if fully set forth herein.

        114.     Defendant City is liable to Plaintiff pursuant to 42 U.S.C. § 1983 for the remaining

Defendants’ violation of Plaintiff’s rights because the violations were caused by a policy, practice,



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or custom of the St. Louis Metropolitan Police Department. Among the SLMPD policies, practices,

or customs that caused constitutional harm to Plaintiff are the following:

                 a.       SLMPD officers’ routine use of excessive force when policing protests,

       especially those at which police brutality is being protested;

                 b.       SLMPD’s policy or custom of issuing vague and even contradictory

       dispersal orders without giving an opportunity to comply;

                 c.       SLMPD’s policy of arbitrarily declaring unlawful assemblies in the absence

       of any threat or force or violent activity that provides no notice to citizens or unlawful

       conduct;

                 d.       Additionally, SLMPD has a custom, policy, or practice of violating the

       Fourth Amendment by regularly conducting unreasonable seizures and arresting

       individuals without probable cause.

       115.      Further, Defendant City has inadequately trained, supervised, and disciplined

SLMPD officers, with respect to its officers’ use of force.

       116.      In its failures, Defendant City has been deliberately indifferent to the rights of

citizens, and these failures and policies are the moving force behind, and direct and proximate

cause of, the constitutional violations suffered by Plaintiff as alleged herein.

       117.      As a direct result of the Defendant City’s failures and policies as described herein,

Plaintiff suffered damages including: physical injury, fear, apprehension, and concern for

Plaintiff’s own safety.

       118.      If Plaintiff prevails, Plaintiff is entitled to recovery attorneys’ fees pursuant to 42

U.S.C. § 1988.




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                                         COUNT VI
                  Missouri State Law § 565.056 – Assault in the Fourth Degree
                                   (Against Defendant Olsten)

          119.   Plaintiff incorporates by reference the allegations in the foregoing paragraphs of

this Complaint as if fully set forth herein.

          120.   The brandishing and deployment of chemical agents for no lawful reason by

Defendant Olsten caused Plaintiff to experience apprehension of immediate physical injury.

          121.   As a direct result of the conduct of Defendant Olsten described herein, Plaintiff

suffered damages including: apprehension, fear, concern for Plaintiff’s own safety, and physical

injury.

          122.   Defendant City of St. Louis obtains insurance from the Public Facilities Protection

Corporation, a not for profit corporation into which the City pays funds yearly. The funds are later

disbursed by the corporation to pay claims against the City.

          123.   Alternatively, the City’s relationship with the PFPC serves as a self-insurance plan.

The 2017 Comprehensive Annual Financial Report for the City of St. Louis, Missouri states “[t]he

PFPC is reported as if it were part of the primary government because its sole purpose is to provide

the City with a defined and funded self-insurance program for claims, judgments, and other related

legal matters . . ..”

          124.   By possessing such insurance or self-insurance, the City has waived sovereign

immunity on state claims pursuant to § 537.610.1, RSMo.

          125.   The actions of Defendants as described above were carried out in bad faith and with

malice, and done with actual, wanton intent to cause injury, such that punitive damages should be

awarded to punish Defendants and to deter them, as well as other similarly-situated individuals,

from engaging in similar conduct in the future, in an amount to be determined by a jury.



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                                        COUNT VII
               Missouri State Law – Intentional Infliction of Emotional Distress
                                  (Against All Defendants)

       126.    Plaintiff incorporates by reference the allegations in the foregoing paragraphs of

this Complaint as if fully set forth herein.

       127.    By surrounding, assaulting Plaintiff and spraying Plaintiff with a chemical agent,

without probable cause, Defendants committed acts that rose to the level of extreme or outrageous

conduct that goes beyond the possible bounds of decency, so as to be regarded as atrocious and

utterly intolerable in a civilized community.

       128.    Defendants’ actions were intentional or, at best, reckless.

       129.    Such actions by Defendants have caused Plaintiff severe emotional distress that has

resulted in bodily harm, as described above.

       130.    Defendants’ sole motivation was to cause emotional distress to Plaintiff and the

other people Defendants’ unlawfully arrested.

       131.    As a direct result of the conduct of Defendants described herein, Plaintiff suffered

damages including: physical injury, emotional trauma, great concern for Plaintiff’s own safety;

fear, apprehension, depression, anxiety, consternation and emotional distress; lost time; loss of

employment opportunity; and loss of faith in society.

       132.    Defendant City of St. Louis obtains insurance from the Public Facilities Protection

Corporation, a not for profit corporation into which the City pays funds yearly. The funds are later

disbursed by the corporation to pay claims against the City.

       133.    Alternatively, the City’s relationship with the PFPC serves as a self-insurance plan.

The 2017 Comprehensive Annual Financial Report for the City of St. Louis, Missouri states “[t]he

PFPC is reported as if it were part of the primary government because its sole purpose is to provide



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the City with a defined and funded self-insurance program for claims, judgments, and other related

legal matters . . ..”

        134.     By possessing such insurance or self-insurance, the City has waived sovereign

immunity on state claims pursuant to § 537.610.1, RSMo.

        135.     The actions of Defendants as described above were carried out in bad faith and with

malice, and done with actual, wanton intent to cause injury, such that punitive damages should be

awarded to punish Defendants and to deter them, as well as other similarly-situated individuals,

from engaging in similar conduct in the future, in an amount to be determined by a jury.

                                        COUNT VIII
                 Missouri State Law – Negligent Infliction of Emotional Distress
                                   (Against All Defendants)

        136.     Plaintiff incorporates by reference each and every allegation contained in the

preceding paragraphs as if fully set forth herein.

        137.     Alternative to Count VII, above, by assaulting Plaintiff and spraying Plaintiff with

pepper spray, Defendants realized or should have realized that their conduct posed an unreasonable

risk to Plaintiff.

        138.     Further, Plaintiff was reasonably in fear for his own person because of the actions

of Defendants and suffered emotional distress or mental injury that is medically diagnosable and

sufficiently severe to be medically significant as a result of Defendants’ actions.

        139.     Defendant City of St. Louis obtains insurance from the Public Facilities Protection

Corporation, a not for profit corporation into which the City pays funds yearly. The funds are later

disbursed by the corporation to pay claims against the City.

        140.     Alternatively, the City’s relationship with the PFPC serves as a self-insurance plan.

The 2017 Comprehensive Annual Financial Report for the City of St. Louis, Missouri states “[t]he



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PFPC is reported as if it were part of the primary government because its sole purpose is to provide

the City with a defined and funded self-insurance program for claims, judgments, and other related

legal matters . . ..”

        141.     By possessing such insurance or self-insurance, the City has waived sovereign

immunity on state claims pursuant to § 537.610.1, RSMo.

        142.     The actions of Defendants as described above were carried out in bad faith and with

malice, and done with actual, wanton intent to cause injury, such that punitive damages should be

awarded to punish Defendants and to deter them, as well as other similarly-situated individuals,

from engaging in similar conduct in the future, in an amount to be determined by a jury.

                                       COUNT IX
       42 U.S.C. § 1983 – Fourth and Fourteenth Amendment: Excessive Force
                             (Against Defendant Olsten)

        143.     Plaintiff incorporates by reference the allegations in the foregoing paragraphs of

this Complaint as if fully set forth herein.

        144.     Defendants engaged in these actions willfully and knowingly, acting with reckless

or deliberate indifference to the Plaintiff’s Fourth Amendment rights. As a direct and proximate

result of Defendants’ unlawful actions, Plaintiff was damaged.

        145.     The use of force against Plaintiff, by assaulting Plaintiff and spraying Plaintiff with

pepper spray, was objectively unreasonable and constituted excessive force.

        146.     As a direct result of the conduct of Defendants described herein, Plaintiff suffered

physical injury and emotional trauma.

        147.     At all times, Defendants were acting under color of state law.

        148.     If Plaintiff prevails, Plaintiff is entitled to recover attorneys’ fees pursuant to 42

U.S.C. § 1988.



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                                         COUNT X
                                   Missouri State Law – Battery
                                   (Against Defendant Olsten)

        149.     Plaintiff incorporates by reference each and every allegation contained in the

preceding paragraphs as if fully set forth herein.

        150.     During the process of being unconstitutionally arrested, Plaintiff suffered battery at

the hands of Defendant.

        151.     In spraying Plaintiff directly with pepper spray, Defendant caused further

intentional and offensive bodily contact.

        152.     Namely, Defendant’s physically aggressive tactics caused intentional and offensive

bodily harm to Plaintiff.

        153.     As a direct result of Defendant’s conduct described herein, Plaintiff suffered

damages including: physical injury, emotional trauma, great concern for Plaintiff’s own safety;

fear, apprehension, depression, anxiety, consternation and emotional distress.

        154.     Defendant City of St. Louis obtains insurance from the Public Facilities Protection

Corporation, a not for profit corporation into which the City pays funds yearly. The funds are later

disbursed by the corporation to pay claims against the City.

        155.     Alternatively, the City’s relationship with the PFPC serves as a self-insurance plan.

The 2017 Comprehensive Annual Financial Report for the City of St. Louis, Missouri states “[t]he

PFPC is reported as if it were part of the primary government because its sole purpose is to provide

the City with a defined and funded self-insurance program for claims, judgments, and other related

legal matters . . ..”

        156.     By possessing such insurance or self-insurance, the City has waived sovereign

immunity on state claims pursuant to § 537.610.1, RSMo.



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       157.    The actions of Defendants as described above were carried out in bad faith and with

malice, and done with actual, wanton intent to cause injury, such that punitive damages should be

awarded to punish Defendants and to deter them, as well as other similarly-situated individuals,

from engaging in similar conduct in the future, in an amount to be determined by a jury.

       WHEREFORE, Plaintiff prays for judgment in favor against all Defendants for

compensatory damages, punitive damages, attorneys’ fees, expenses, costs, and for any other relief

this Court deems just and appropriate.

Date: October 2, 2018                        Respectfully Submitted,

                                             KHAZAELI WYRSCH LLC

                                             /s/ James R. Wyrsch
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